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EXHIBIT A
                   Case 1:21-cv-11212-FDS Document 1-2 Filed 07/27/21 Page 2 of 17




                                            Commonwealth of Massachusetts

 BRISTOL, ss.                                                               TRIAL COURT OF THE COMMONWEALTH
                                                                            SUPERIOR COURT DEPARTMENT
                                                                            CIVII, DOCKET NO,)~~~,
                                                                                                L ~~~

                                                    PLAINTIFF(S),


vS.                                                                                          `~5.       "5~•4     4   x•




PAM(al Sl v ~lY'+(~ .SS~~, ~ ~~~                   DEFENDANT(S)


                                                        SUMIVIONS
THIS SUMIlVIONS IS DIRECTED TO:Q(~~~ie^,                           ~~        ), ~~~        ~~r~~o .(Defendant's name)
You are being sued. The Plaintiff(s) named above has started a lawsuit agamst you. A copy of
                                                                                             the Plaintiff s Complaint
filed against you is attached to this summons and the original. complaint has been filed
                                                                                         in the '~ ~                                Court.
YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1.     You must respond to this lawsuit in writing within 20 days. If you do not respond, the
                                                                                                     court may decide the
       case against you and award the Plaintiff everything asked for in the complaint.
                                                                                          You will also lose the opportunity
       to tell your side of the story. You must respond to this. lawsuit in writing even if you expect
                                                                                                       to resolve this matter
       with_the Plaintiff=. .If:you..need-more:time to,respond,.you may request an extension of tiffie in_writin
       the Court.
                                                                                                                    g:from
                                                                                                                     .   ~
2.     How to respond. To respond to this lawsuit, you must file a written response with the
                                                                                                  court and mail a copy to
       Plaintiffs Attomey (or the Plaintiff, if unrepresented). You can do this by:
                                                                                          A                     n ~ a~ ~
                                                                                                                            ,
                                                                                                                            )


3.     What to include in your response. An "Answer" is. one type of response to a Complai
                                                                                                     nt, Your Answer must
       state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complai
                                                                                                         nt. Some defenses,
       called affirmative defenses, must be stated in your Answer or you may lose your right use
                                                                                                  to     them in court. If
       you have any claims against the Plaintiff (referred to as counterclaims) that are based on the same
                                                                                                                 facts or
        transaction described in the Complaint, then you must include those claims in your Answer.
                                                                                                          Otherwise, you may
        lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have
                                                                                                          your case heard by a
       jury, you must specifically request a jury ticial in your Answer or in a written demanid for a jury
                                                                                                             trial that you
        must send to. the other side and file with the court no more than 10 days after sending your
                                                                                                        Answer. You can also
        res.pond to a Complaint by filing a"Motion to Dismiss", if you believe that the complaint is legally
                                                                                                                   invalid or
        legally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed under
       Mass. R. Civ. P. 12. If you are filing a Motion to Dismiss, you must also comply with the filing procedu
                                                                                                                        res for
       "Civil Motions" described in the rules of the Court in which the complaint was filed, available at
       www.mass.gov.courts/case-legal-res/rulesofcourt.                                                           ~
                                                                                         Ft1roecopy,4tt         ~:4                          '
                                                                                                    ......        Oepurj Sheriff Su ifolk Ootmty
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                                                                                                                      -     ~-.

4.      -Legal Assistance. You may wish to,get legal help_ from a lawyer._ If you cannot get legal help, some basic
 information for people who represent themselves is available at www.mass.gov/conrts/selfhelp.                    ^
5.       Required information on all.;filings: The "civil docket number" appearing at the top of this notice is the case
     number assigned to this case. aud must appear-on the front of your Answer or 1Vlotion to Dismiss. You should
 refer to yourself as the. "Defendant". _      .
        -                                                                    A


        Witness Hon. Judith Fabricant, Chief Justice on ~~~'(1Q                                                 , 20~.. (SEAL)

            Marc J.. Santos,
            Clerk/Magistrate

N.OTE: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the. lawsuit should be indicated on the
       summons before it is served onthe Defendant.


                                            PROOF OF SERVICE OF PROCESS

                 I hereby certify_that on                                        , 20    , I served a copy of this summons,
            together with a copy of the complaint in this action; on the defendant named in this summons, in the following
            manner (See Mass: R Civ: P. 4(d)(1=5)):




            Dated:                                     2 20                       Signature:

                                                ..   :. . . .   . ........   ..
                                         -A "
                   PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT 1N THIS BOX - BOTH
             ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.
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                                                                                   B~IS7~t! S 1•'E
                            COMMONWEALTH OF MASSACHUSETTS                                          1Q~
                              The Trial Court of the Commonwealth

 BRISTOL, SS.                                 SUPERIOR COURT DEPARTMENT

                                              CIVIL ACTION NO.: QI`'1 ~CW 0 2~__6A jk

                        ~
 JANNA B. MILLS, individually, and
 as PersonaI Representative of the
 Estate of Christopher P. Mills,

                       Plaintiff,
                                                                                                     3,`~l~~y
V.                                                                   i1~y'~ s~ ~.?J~N y   `'~ M r~
                                                                      ,..~.,a~:'                       ~


AMAZON.COM, INC.; AMAZON.COM, LLC;
AMAZON SERVICES, LLC;
AMAZON.COM SERVICES, LLC;
AMAZON.COM SERVICES, INC.;
AMAZON.COM.DEDC, LCC;
AMAZON LOGISTICS, INC.;
XPO LAST MILE, INC.; XPO LOGISTICS, INC.;
and JOFIN DOES 10-15,

                       Defendants.


                              COMPLAINT AND JURY DEMAND
                                       INTRODUCTION
        The Plaintiff, Janna B. Mills individually and as the Personal Representative of the Estate
of Christopher P. Mills brings this civil action seeking damages for negligence and wrongful death
claims against the Defendants, AMAZON.COM, INC., AMAZON.COM, LLC, AMAZON
SERVICES, LLC, AMAZON.COM SERVICES, LLC, AIVIAZON.COM SERVICES, INC.,
AMAZON.COM.DEDC, LCC, AMAZON LOGISTICS, INC., XPO LAST MILE, INC., XPO
LOGISTICS, INC. (hereinafter referred to coliectively as "the Defendants") for the severe personal
injuries an death of Christopher P. Mills, caused as a result of an motor vehicle colIision. As a
direct result of the reckless and/or negiigent conduct on the part of the Defendants, Christopher
Mills suffered severe and life-threatening injuries and died as a result thereof.
                                           PARTIES
 1. The Plaintiff, Janna Mills is an individual with a usual place of abode at 126 South Main
    Street, Berkley, Bristol County, Massachusetts.




COMPLAIN'T AND JURY DEMAND                                                                                 Page 1of 13
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   2. The Plaintiff, Janna B. Mills was appointed the Personal Representative of the Estate of the
      deceased, Christopher P. Miils, on August 10, 2018 by an order of the BristoI County Probate
      and Family Court, DocIcet Number BR18P2170EA, which letters of administration were
      issued to the Plaintiff, Janna B. Mills, who continues to be the duly appointed Personal
      Representative.

   3. The Defendant, AMAZON.COM, INC., is a corporation with its corporate office located at
      410 Terry Avenue N, Seattie, King County, Washington, 98109.

   4. The Defendant, AMAZON.COM, LLC, is a lirnited liability company with its corporate office
      located at 410 Terry Avenue N, Seattle, King County, Washington, 98109.

   5. The Defendant, AMAZON SERVICES, LLC, is a limited liability company with its corporate
      office Iocated at 410 Terry Avenue N, Seattle, King County, Washington, 98109.

   6. The Defendant, AMAZON.COM SERVICES, LLC, is a limited Iiability company n with its
      corporate office located at 410 Terry Avenue N, Seattle, King County, Washington, 98109.

   7. The Defendant, AMAZON.COM SERVICES, INC., is a corporation with its corporate office
      located at 410 Terry Avenue N, Seattle, King County, Washington, 98109.

   8. The Defendant, AMAZON.COM.DEDC, LCC, is a limited liability company with its
      corporate office located at 410 Terry Avenue N, Seattle, King County, Washington, 98109.

  9. The Defendant, AMAZON LOGISTICS, INC., is a corporation with its corporate ofBce
     located at 410 Terry Avenue N, Seattle, King County, Washington, 98109,

  10.The Defendant, XPO LAST MILE, INC. is a corporation with its principal office located at
     1851 West Oak Parlcway, Suite 100, Marietta County, GA, 30062.

  11.The Defendant, XPO LOGISTICS, INC. is a corporation with its corporate headquarters
     located at 5 American Lane, Greenwich, Fairfield County, Connecticut, 06831.

  12.The true names, capacities or involvement, whether individual, corporate, governmental or
     associate, of the Defendants named herein as JOHN DOES through 10-15, inclusive are
     unknown to Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff
     prays for leave to amend this Compiaint to show their true names and capacities wheri the
     sarne have been finally determined. Plaintiff is informed and believes, and upon such
     information and belief alleges thereon, that each of the Defendants designated herein as JOHN
     DOE is negligently or otherwise legally responsible in some manner for the events and
     happenings herein referred to, and negligently or otherwise caused injury and damages
     proximately thereby to Plaintiff, as is hereinafter aIleged.


                                  JURISDICTION & VLNUE
  13.Plailitiff re-alleges and incorporates by reference paragraphs 1 through 12 as if fully restated
     herein.



CObIPLAINT' AND JU1tY DE1v1AND                                                            P1ge 2 oE13
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   14.At the time of the subject motor vehicle collision, Christophe'r Mills was operating his motor
      vehicle on Highland Avenue in Fall River, Bristol County, Massachusetts.

   15.At the time of the subject motor vehicle collision, the subject 2016 Hino 268 Box Trucic
      (hereinafter "Box Tnick") was being operated on Highland Avenue in Fall River, Bristol
      County, Massachiisetts by Irvin Dominguez-Cruz (hereinafter "Cruz"), an employee, agent,
      apparent agent, and/or servant of the Defendants.

   16.This Court has personal jurisdiction over the Defendants, AMAZON.COM, INC.,
      AMAZON.COM, LLC, AMAZON SERVICES, LLC, AMAZON.COM SERVICES, LLC,
      AMAZON.COM SERVICES, 1NC., AMAZON.COM.DEDC, LCC, AMAZON
      LOGISTICS, INC., because at all times relevant to the instant action, Defendants were
      engaged in trade and commerce by performing online sales and delivery services within the
      Commonwealth of Massachuset`t,s.

   17.This Court has personal jurisdiction over the Defendant XPO Last Mile, Inc., because at all
      times relevant to the instant action, XPO Last Mile, Inc., was engaged in trade and commerce
      by performing delivery services within the Commonwealth of Massachusetts.

  18.This Court has personaI jurisdiction over the Defendant XPO Logistics, Ine., because at all
     times relevant to the instant action, XPO Logistics, Inc., was engaged in trade and commerce
     by performing delivery services within the Commonwealth of Massachusetts.

  19.This Court has jurisdiction over the instant action as the amount in controversy exceeds
     $50,000.00 and the incidents occurred in the Commonwealth of Massachusetts.

  20. Vemie is proper in the Bristol County Superior Court under M.G.L. c. 223, § 1, as the Plaintiff
      lives in Bristol County.

                                          MATERIAL FACTS

  21. Plaintiff re-alleges and incorporates by reference paragraphs I through 20 as if fully restated
      herein.

  22. On or about June 14, 2018, at approximately 6:01 a.m. the decedent, Christopher P. Mills,
      was carefully and prudently operating his motorcycle traveling northbound on Highland
      Avenue in Fall River, Massachusetts,

  23. Highlaiid Avenue is a marked; asphalt paved two-lane roadway with opposing lanes
      (north/south), which has streetlights and crosswalks. At the time of the accident the roadway
      was dry with no road defects. Weather conditions were dry, sunny, with clear visibility.

  24. At the same time, Cniz was driving southbound on Highland Avenue in Fall River,
      Massachusetts, operating the subject Box Trucic with commercial registration S11399.




CORfPf..A1NT AND JURY DEIvIAND                                                            1'age 3 of 13
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   25. At ali times reievant hereto, Cruz was an employee, agent, apparent agent, and/or servant of
       the named Defendants, and each of them.

   26. At all times relevant hereto, Craz was subject to the actual control or right to control of
       Defendants in the method and manner of fulfilling his responsibilities of employment. This
       includes, but it not limited to, the exact delivery responsibilities Crtiz was performing at the
       time of the subject accident. Cruz was therefore the agent, actual or apparent, of the
       Defendants.

   27. Cruz, suddenly and without wanning or signal turned the Box Truck east to make a left turn
       onto Courtney Street in Fall River, Massachusetts.

  28. As Cruz turned lefft, he impeded the path of Christopher P. Mills' motorcycle.

  29. Christopher P. Mills' motorcycle slcidded, and his body impacted the rear passenger wheels
      and body of the Box Truck.

  30. As Christopher P. Mills lay on the groilnd wailing in pain from his life threating injuries, Cruz
      never stopped and continued east on Courtney Street into the Royal Crest Estates driveway in
      Fall River, Massachusetts.

  31. Christopher P. Mills suffered excruciating physical and mental pain and anguish at the scene
      of the accident, including but not limited to sustaining broken bones, internal bleeding, brain
      edema, and injuries to his internal organs.

  32. As the EMS was transporting Christopher P. Mills to Rhode Island IIospital, his mental status
      and blood pressure continued to degrade. He experienced bradypnea, his jaw began clinching
      and there was loss in pulses. The EMT's began CPR.

  33. Upon arrival at Rhode Island Hospital, located in Providence, Rhode Island, resuscitation
      attempts continued but failed and Christopher P. Mills was pronounced dead by Alison S.
      Hayward, MD at 6:50 am oti June 14, 2018.

  34. On Thursday, June 14, 2018 Trooper Phillip Giardino and Detective Dwaine Cabeceiras,
      located the operator of the Box Truck, Irvin Dominguez-Cruz.

          was arrested and charged with Motor Vehicle Homicide by Negligent Operation,
  35. CrLiz
     Leaving the Scene of a Collision Death Restllting, Unlicensed Operation of a Motor Vehicle
     and Failure to Yield to On-Coming Motor Vehicle.

  36. The Fall River Police Department's Accident Reconstruction team determined that
      Christopher P. Mills' speed was not excessive, based on their investigation and their
      observations of the damage to both vehicles.

 37. The Fall River Police Department's Accident Reconstl2tction team determined that the Box
     Truck was working properly before impact.




COMPL:1IIvT AND JUItY DLbIAND                                                               Page 4 of 13
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   38. The Fali River Police Department's Accident Reconstruction team determined that the failure
       of the operator, Cruz, to exercise reasonable due care and caution by failing to yield to
       oncoming traffic was the cause of the accident.

   39. At the time Cruz caused Christopher P. Mills' death, he was an employee, agent, apparent
       agent, and/or servant of Paige Transportation tocated in Boston, Massachusetts, as well as the
       Defendants in this action.

  40. The Defendants contracted Paige Transportation and its employees, agents, and/or servants to
      perform deliveries.

  41. Upon information and belief, Cruz was operating the Box Tnicic within the course and scope
      of the employment/contract agreement between the Defendant(s) and Paige Transportation.

  42. Upon information and belief, Cruz was not licensed to operate the Box Truck.

  43. Upon information and belief, Cruz was not competent to operate the motor vehicle safely.

  44. Defendants knew or reasonably should have known that Cruz was not licensed to operate the
      box truck.

  45. Defendants lcnew or reasonably should have known that Cruz was not competent to operate
      the box truck safely.

                                            COUNT I
                                            Negligence

  46. The Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
      through 45 as if fully restated herein.

  47. At all times relevant hereto, on or about June 14, 2018, Christopher P. Mills, was in the
      exercise of due care while operating his motorcycle while traveling northbound on Highland
      Avenue in Fall River, Massachusetts.

  48. Cruz was operating the Box Truck under the direction, control and/or supervision of the
      Defendants.

  49. At all times relevant hereto, Cruz was subj ect to the actual controi or right to control of
      Defendants in the method and manner of operating the Box Truck in ftilfilling his
      responsibilities of employment. This includes, but it not limited to, the exact delivery
      responsibilities Crtiz was performing at the time of the subject accident. Cruz was therefore
      the agent, actual or apparent, of the Defendants.

 50.The Defendants failed to exercise reasonable care to supervise Cruz.

 51. At all times relevant hereto on or about June 14, 2018, Cruz, as employee, agent, apparent
     agent, and/or servant of the Defendants had a dtity to use reasonable care to avoid causing




CONlPLAINT AND JURY DEMt1ND                                                               P1ge 5 oE13
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      personal injury and/or property damage to Christopher P. Mills and others on the road by
      operating the motor vehicle with reasonable care and caution.

  52, At all times relevant hereto, Cruz, while under the direction, control and/or supervision of the
      Defendants, breached his duty to use reasonable care by causing the motor vehicle to impede
      the path of Christopher P. Mills, which caused his injuries and uitimate death.

  53. Specifically, the accident was caused by the reckless, careless, and/or negligent conduct of
      Cruz for that, among other acts and omissions, he:

    a. Failed to observe due care and precaution and to maintain proper and adequate
       control of the motor vehicle he was operating;

    b. Failed to keep a proper lookout for other vehicles lawfully upon the road;

    c. Operated the motor vehicle negligently thereby causing a death;

    d. Left the scene of a collision resulting in death;

    e. Operated a motor vehicle while unlicensed;

    f. Failed to yield to the on-coming motor vehicle;

   g. Failed to properly maintain the motor vehicle he was operating so that it was safe
      to operate upon public roadways; and

   h. In other respects, not now known to the Plaintiff, but which may become known
      prior to or at the time of trial.                         1




  54, Defendants owed a duty of reasonable care in directing, controlling supervising, screening,
      and/or training who it allowed to make deliveries on their behalf.

  55. Defendants breached their diity of reasonable care by allowing Cruz to operate the motor
      vehicle on their behalf because they knew or should have known that Cruz was not licensed
      to operate the box tnick.

 56.Defendants breached their duty of reasonable care by allowing Cruz to operate the motor
    vehicle on their behalf because they knew or should have known that Cruz was incornpetent
    to operate a motor vehicle safely.

 57. As a direct and proximate restilt of the negligence of Cruz who was an employee, agent,
     apparent agent, and/or servant of Defendants, Christopher 1Vlills sustained fatal personal
     injuries and died.


 58. As a direct and proximate result of the Defendants' breach of duty to use reasonable care in
     directing, controlling supervising, screening, and/or training Ciliz, Christopher Mills
     sustained fatal personal injuries and died.



COh[PLAiNTAND JURY DEMAND                                                                  P1ge 6 of 13
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   59. Specifically, as a direct and proximate result of the wrongful, careless, and/or negligent
       conduct of the Defendants, Christopher P. Mills:

         a. Suffered serious, painful and permanent bodily injuries, great physical pain and mental
            anguish, severe and substantial emotional distress all calminating in the loss of his life;
         b. Was required to undergo medical treatment and to incur medical costs and expenses in
            order to treat injuries, pain and suffering and to attempt to save his life;
         c. Is forever precluded from engaging in normal activities and pursuits, including a loss of
            ability to earn money and of acttial earnings;
        d. And, otherwise was hurt, injured and caused to sustain losses, including death.

   60. Defendants are vicariously liable for the actions of Cruz and responsible for the negligence of
       Cruz both under common law and statutory law principles.


 W.HEREFO.RE, the Plaintiff Janna B. Mills as the Personal Representative of the Estate of
Christopher P. Mills demands Judgment against the Defendants for damages, including but not
limited to actual and consequential damages, in an amount that the Court or Jury deems meet and
just, together with attorneys' fees, interest, costs and such other relief as this Honorable Court may
deem appropriate.

                                         COUNT II
                                Negligence/Wrongful Death
               (Pursuant to Massachusetts Wrongful Death Statute, G.L. c. 229, § 2)

  61. The Plaintiff re-alleges and incoiporates herein the allegations contained in paragraphs 1
      through 60 as if fully restated herein.

  62. At all times relevant hereto, on or about June 14, 2018, Christopher P. Mills, was in the
      exercise of due care while operating his motorcycle while traveling northbound on Highland
      Avenue in Fall River, Massachusetts.

  63. Cruz was operating the Box Truck under the direction, control andlor supervision of the
      Defendan₹s.

  64. At all times relevant hereto, Cruz was subject to the actual control or right to control of
      Defendants in the method and manner of operating the Box Truck in fulfilling his
      responsibilities of ernployment. This includes, but it not limited to, the exact delivery
      responsibilities Cruz was perforining at the time of the subject accident. Cruz was therefore
      the agent, actuai or apparent, of the Defendants.

  65, The Defendants failed to exercise reasonable care to supervise Cruz.

 66. At all times relevant liereto on or about June 14, 2018, Cruz, as employee, agent, apparent
     agent, and/or servant of the Defendants had a duty to use reasonable care to avoid causing




COYIPLAINT AND JURY DEIvIP,ND                                                               Page 7 of 13
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       personaI injury and/or property damage to Christopher P. Mills and others on the road by
       operating the motor vehicle with reasonable care and caution.

   67. At all times relevant hereto, Cruz, while under the direction, control and/or supervision of the
       Defendants, breached his duty to use reasonable care by causing the motor vehicle to impede
       the path of Christopher P. Mills, which caused his injuries and ultimate death.

   68. Specifically, the accident was caused by the recicless, careless, and/or negligent conduct of
       Cruz for that, among other acts and omissions, he:

         a. Failed to observe due care and precaution and to maintain proper and adequate control
            of the motor vehicle he was operating;

         b. Failed to keep a proper lookout for ot4er vehicles lawfully upon the road;

         c. Operated the motor vehiele negligently thereby causing a death;

         d. Left the scene of a collision resulting in death;

         e. Operated a motor vehicle while unlicensed;

         £ Failed to yield to the oii-coming motor vehicle;

        g. Failed to properly maintain the motor vehicle he was operating so that it was safe to
           opera.te upon public roadways; and

        h. In other respects, not now ]cnown to the Plaintiff, but rvhich may become known prior
           to or at the time of trial,

  69. Defendants owed a duty of reasonable eare in directing, controlling stipervising, screening,
      and/or training who it allowed to malce deliveries on their behalf.

  74. Defendants breached their duty of reasonable care by allowing Cruz to operate the motor
      vehicle on their behalf because they knew or should have known that Cruz was not licensed
      to operate the box trtick.

  71. Defendants breached their duty of reasonable care by allowing Cruz to operate the motor
      vehicle on their behalf because they lcnew or should have known that Cruz was incompetent
      to operate a motor vehicle safely.

  72. As a direct and proximate result of the negligence of Cruz who was an employee, agent,
      apparent agent, and/or servant of Defeiidants, Chi-istopher Mills sustained fatal personal
      injuries aiid died.


  73. As a direct and proximate result of the Defendants' breach of duty to use reasonable care in
      directing, controlling supervising, screening, and/or training Cruz, Christopher Mills
      sustained fatal personal. injuries and died.



COMPLr1INT ['.ND JC1RY DEb111ND                     ~                                       Page 8 of L3
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  74. Specifically, as a direct and proximate result of the wrongful; careless, and/or negligent
      condtict of the Defendants, Christopher P. Mills:

        a. Suffered serious, painfiil and permanent bodily injuries, great physical pain and
           mental anguish, severe and substantial eniotional distress all culminating in the
           loss of his life;

        b. Was required to undergo medical treatment and to incur medical costs and
           expenses in order to treat injuries, pain a.nd suffering and to attempt to save his
           life;

        c. Is forever precluded fi•orn engaging in normal activities and pursuits, including
           a loss of ability to earn rnoneyand of actual earnings;

        d. And, otherwise was hurt, injured and caused to sustain losses, including death.

  75. Defendants are vicariously liable for the actions of Cniz and responsible for the negligence of
      Crtiz both under common law and statutory Iaw principles.

  76. The Plaintiff Janna B. Mi11s as the Personal Representative of the Estate of
      Christopher P. MiIIs brings this action for the wrongful death of Christopher Mills
      for the benefit of his next of lcin pursuant to G. L. c. 229, § 2.

-W11r,,REFOIdF, the Plaintiff Janna B. 1Vlills as the 'Personal - Representative of the Estate of
Christopher P. Mills demands Judgment against the Defendants for damages, inchiding but not
limited to actual and consequential damages, in an aniount that the Court or Jury deems meet and
just, together with attorneys' fees, interest, costs and such other relief as this Honorable Court may
deetn appropriate.
                                          COUNT III
                                      Punitive Damages
             (Pursuant to Plassach usetts Wpongful Death SYatute, G.L. c. 229, §2)

 77. PIaintiff re-alleges and incorporates by reference paragraphs 1 through 76 as if fully restated
     herein.

 78. All of the aforementioned acts and/ot omissions of Cruz, who was an employee, agent,
     apparcnt agent, and/or servant of the Defendants, constitute gross negligence, and/or rose to
     the level of willful, wanton, and/or recicless behavior within the meaning of the Wrongful
     Death Statute, so as to merit an award of punitive damages.

 79. Defendants are vicariously liable for the actions of Cruz and are responsible for the
     negligence, gross negligence and/or wrongful actions of Cruz both under common law and
     stattttory law principles.




COMPLAINTAND JURY llEMt1ND                                                                   Page 9 of 13
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   80.All of the aforementioned acts and/or omissions of the Defendants constitute gross
      negligence, and/or rose to the level of willful, wanton, and/or reckless behavior within the
      meaning of the Wrongful Death Stattite, so as to merit an award of punitive damages.

   81. The Plaintiff, Janna B. Mills brings this cause of action as the duly appointed Personal
       Representative of the Estate of Christopher P. Mills.


 WHEREFORE, the Plaintiff Janna B. Mills as the Personal Representative of the Estate of
 Christopher P. Mills, demands Judgment against the Defendants in an amount of punitive damages
 that the Court or Jury deems meet and just, together with attorneys' fees, interest, costs and such
 other relief as this Honorable Court may deem appropriate.


                                           COUNT IV
                                 Conscious Pain and Suffering
               (Pursuant ta Massacliusetts Wrongful Death Statute, G.L. c. 229, § 6)

   82. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 81 as if fully restated
       herein.

  83. Christopher P. Mills suffered excruciating physical and mental pain and anguish at the scene
      of the accident, sustaining broken bones and internaI bleeding after colliding into the Box
     Truck.

  84.Christopher P. Mills Iived and suffered for approximately fifty (50) minutes before he finally
     succumbed to his injuries.

  85.As a result of the negligence of Cruz, who was an employee, agent, apparent agent, and/or
     servant of the Defendants, the late Christopher Mills was caused to suffer great. pain and
     conscious suffering up to the moment of his death.

  86. As a result of the negligence of the Defendants, the late Christopher Mills was caused to suffer
      great pain and conscious suffering up to the moment of his death.

  87. Defendants are vicariously liable for the actions of Cruz and responsible for the negligence of
      Cruz both under common law and statutory law principles.

  88. The Plaintiff, Janna B. Mills brings this cause of action as the duly appointed Personal
     Representative of the Estate of Christopher P. Mills.


WHEREFOR.E, the Plaintiff Janna B. Mills as the Personal Representative of the Estate of
Christopher P. MiIls, demands Judgment against the Defendan₹s for damages, including but not
limited to actual and consequential damages, in an amount that the Court or Jury deems meet and
just, together with attorneys' fees, interest, costs and such other relief as this Honorable Court may
deem appropriate.




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                                              COUNT V
                              Negligent Hiring, Retention and Supervision

   89. The Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
       through 88 as if fully restated herein.

   90. At all times, Cruz was operating under the direction, stipervision, control and/or right of
       control of the Defendants, and was otherwise their employee, agent, apparent agent, and/or
       servant.

   91. By establishing operating procedures for delivery and delivery of products, the Defendants,
       have an express and/or implied duty to provide a reasonable safe environment to others on the
      road.

   92. Defendants failed to exercise reasonable care in directing, controtling, supervising, screening,
       and/or training Cruz.

   93. As a direct result of the Defendants' negligence, Christopher P. Mills sustained fatal personal
       injuries and death.


 WHEREFORE, the Plaintiff Janna B. Mills as the Personal Representative of the Estate of
Christopher P. Mi(ls, demands Judgment against the Defendants for damages, including btit not              ~
limited to acttial and consequential damages, in.an amount that the Court or Jury deems meet and
just, together with attorneys' fees, interest, costs and sttch other relief as this Honorable Court may
deem appropriate.

                                              COUNT VI
                                           Vicarious Liability

  94. The Plaintiff re-alleges and incorporates herein the allegations contained in paragraplis 1
      through 93 as if fuIIy restated herein.

  95. At all times relevant hereto, the Defendants employed Cruz and/or allowed him to act as their
      agent or servant.

  96.By virtue of the Defendants' relationship to Cruz, he had authority to malce deliveries as an
     agent of the Defendants.

  97. The conduct of Cruz recounted herein was undertaken in the course and scope of his
      employment, agency, or servitude of the Defendants and ratified by.them.

  98. In operating the Box Truck, Cruz was serving the interests of his employers and/or principles,
      the Defendants, when the accident occurred.

 99. At all times relevant liereto, Cruz was acting as employee, agent, apparent agent, and/or
     servant of the Defendants and was using the trust, power and authority of liis position when
     the accident involving the Christoplier P. Mills occurred.



COAMPI,AINT AND JURY DEbLAND                                                               Page 11 of 13
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   100. Defendants maintained significant actual control, or right of control, over Cruz. Said
      control, or riglit of control, includes but is not limited to the precise delivery responsibilities
      and protocol being carried out by Cruz at the time he negligently caused the motor vehicle
      accident. Because the control exercised or possessed by Defendants is significant, Cruz is the
      employee, agent, apparent agent, and/or servant of the Defendants.

  101. The accident that occurred on or about June 14, 2018, was foreseeable by the Defendants.

  102. Cruz's negligent acts and omissions during his employment, agency, or servitude of the
       Defendants, while acting with actual or apparent authority operated the Box Truck that
       impeded the path of the Christopher P. Mills, resulted in an accident that caused his fatal
       personal injuries.

 103. The Defendants are vicariously liable for the acts and omissions of Irvin Dominguez-Cruz,
      and the injuries and death sustained by Christopher P. Mil(s.

 6ilSEREFORE, the Plaintiff Janna B. Mills as the Personal Representative of the Estate of
Christopher P. Mills, demands Judgment against the Defendants for damages, including but not
Iimited to actual and consequential damages, in an amount that the Court or Jury deems meet and
just, together with attorneys' fees, interest, costs and such other relief as this Honorable Cotirt may
deem appropriate.

                                              COUNT VII
                                           Loss of Consortium

  104.The Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
      through 103 as if fully restated herein.

  105.At all times relevant hereto, Janna B. Mills was the lawful wife of Christopher P. Mills and
      she brings this cause of action pursuant to Massachusetts law to recover loss of consortium.

  106.As a direct resttlt of the Defendants' recicless, careless, and/or negligent conduct, the
     decedent, Christopher P. Mills sustauaed injuries and ultimately death.

  107.As a direct result of the Defendants' reckless, careless, and/or negligent conduct, Janna B.
      Mills has suffered and continues to suffer severe emotional and psychological distress
      including, but not limited to, loss of companionship and society, loss of the protection and
      care of her husband and economic loss.

  1.08. The recldess, careless, and/or negligent conduct of the Defendants were the cause in fact
      and the proximate cause of all the aforesaid injuries and damages.

       WHEREFORE, the Plaintiff, Janna B. MilIs individually and as the Personal
Representative of the Estate of Christopher P. Mills, prays that judgment be entered against the
Defendants for damages, including but not limited to actual and consequential damages, in an
amount that will fairly and adequately compensate Janna B. Mills individually and as the Personal



COMPLt1INT AND JURY DEMi1ND                              ^                                   Page 12 oE 13
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 Representative of the Estate of Cliristopher P. Mills for the fatal injuries, including pain and
 suffering and ali other damages recoverable, together with attorneys' fees, interest, costs and such
 other relief as this Honorable Court may deem appropriate.


                                         JURY DEMAND
       . The Plaintiff, Janna B. Mills individually and as the Personal Representative of the Estate
 of Christopher P. Mills, hereby demands a trial by jury on each claim asserted or hereafter asserted
 in the Complaint, and on each defense asserted or hereafler asserted by any Defendant.

                                              Respectfully Submitted,
                                              The Plaintiif,
                                              JANNA B. MILLS individually
                                              and as the Personal Representative of
                                              the Estate of Christopher P. Mills,
                                              By Her Attorne ,              '0" ., .


 DATE: May 20, 2021
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                                                                     DOCKETNUMBER             Trial Court of Massachusetts                        ~
              CIVIL TRACKING ORDER                               ~
                   (STANDING ORDER 1-88) '                           2173CV00389              The Superior. Court
CASE NAME;
                                                                                               Marc J. Santos, Clerk of Court
       Janna B Mills, Individually/ Personal Representative for the Estate of
                                                                                               Bristol County
      Christopher P Mills vs. Amazon.Com, Inc et al
To: Amazon.ComServices,                          Inc
                                                                                              COURTNAMEBADDRESS
                                                                                               Bristol County Superior Court - New Bedford
       No addresses available
                                                                                               441 County Street, 1st floor
       '                                                                                       New Bedford, MA 02740




                                                             TRACKING ORDER - A - Average
                   You are hereby notified that this case is on the track referenced above as per Superior Court Standing
    Order 1-88. The order requires that the various stages of litigation described below must be completed not later
    than the deadlines indicated.

                     STAGES OF LI'ffIGAT10N                                                        DEADLINE

                                                                                     SERVED BY              FILED BY         HEARD BY

     Service of process made and return filed with the Court                          ~
                                                                                     s'.X._ ~
                                                                                    ~'.'F51~~~
                                                                                               ~~ k .       08119/2021                    ~.
                                                                                              : '~


     Response to the complaint filed (also see MRCP 12)                             ;~~ "          u    ~   09I20/2021
                                                                                                                                  - -e
     AII motions under MRCP 12, 19, and 20                                            09/1812021            10/18/2021       11/17/2021

     AII motions under MRCP 15                                                        07/15/2022            08/15/2022       08/15/2022

     AII discovery requests and depositions served and non-expert
                                                                                      05//1112023            -
     depositions completed                                                                                   z_.
                                                                                                              _ M_           ~~ P        _~.

     AII motions under MRCP 56                                                        06/1212023            07/10/2023       zK

     Finai pre-trial conference held andlor firm trial date set                                                               11/07/2023
                                                                                          Y                              ~
     Case shall be resolved and judgment shall issue by                                   '#~ .' 'R         V r'         ~ 05/20/2024




   The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.
   Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
   This case is assigned to




 DATE ISSUED                      I     ASSISTANT CLERK                                                              PHONE

      05/21/2021                  1        Jennifer A Sullivan                                                           (508)996-2051

Dete/Tlroe PrURed: DS21-202t 1T:70:55                                                                                                          sDVD2hl 0812010
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